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|N THE UNITED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STR|CT OF OH|O
WESTERN D|V|S|ON

TRESSA SHERROD,
Administratrix of the Estate of

John Crawford, |1|, er a/.,
P|aimiffs' : Case No. 3:‘|4-cv-454
V- JUDGE WALTER H. R|CE
OFF|CER SEAN W|LL|A|VIS, er
a/.,
Defendants.

 

DEC|S|ON AND ENTRY SUSTA|N|NG THE BEAVERCREEK
DEFENDANTS' IVlOT|ON FOR JURY V|EW lDOC. #205)

 

The Beavercreek Defendants ask the Court for an Order permitting a jury
view of the last aisle of the pet section of the Beavercreek Wa|mart store where
John Crawford, l||, was shot by Officer Sean Wil|iams. Doc. #205. They maintain
that this will assist the jury in understanding the evidence presented at tria|,
particularly with respect to “the close proximity of the officers to John Crawford,
the impact of that proximity to the perceptions of the officers, and the impact of
that proximity to the actions of the officers based on their perceptions." ld. at
Page|D##12993-94. They further argue that, although video surveillance tapes of
the incident may also be introduced, a jury view will offer a perspective that

cannot be gained by viewing the tapes alone.

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The Wal-l\/lart Defendants do not oppose the motion for a jury view.
Plaintiffs do, however. Doc. #241. They argue that a jury view will be
duplicative, given the video reconstructions of the scene and the shooting incident.
They further argue that, because the layout of the shelving units and the
merchandise has likely changed since August of 2014, a jury view would be
inaccurate and would confuse the jury. Plaintiffs maintain that a jury view would
have limited probative value and would be a waste of time and resources.

The Court agrees with the Beavercreek Defendants that a jury view will
provide the jury with a perspective that cannot be duplicated via video surveillance
tapes or video reconstructions. To the extent that material changes have been
made to the layout of the shelving units or the nature of the merchandise
displayed, counsel may question the appropriate witnesses about those
modifications to minimize any danger of prejudice or confusion.

The Court therefore SUSTAINS the Beavercreek Defendants’ motion for a

jury view, Doc. #205.1

 

1 The Beavercreek Defendants have filed an interlocutory appeal. Doc. #272. The
filing of a notice of appeal confers jurisdiction on the appellate court and divests
the district court of jurisdiction to proceed on ”those aspects of the case involved
in the appea|." Gr/'ggs v. Provident Consumer D/`sc. Co., 459 U.S. 56, 58 (1982}.
Here, however, the interlocutory appeal is limited to the question of whether the
individual Beavercreek defendants are immune from suit. The Court is not divested
of jurisdiction over other aspects of the case. Al/'ce L. v. Dusek, 492 F.3d 563,
564-65 (5th Cir. 2007). The parties have indicated, and the Court agrees, that it
Would be helpful to issue rulings on the pending motions.

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Date: January 31 , 2019 UL`, ;: x

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